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        EXHIBIT 3
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Platform Life Sciences is an Impact Research Organization that
helps sponsors and partners redefine clinical trials with speed,
adaptability, and global partnerships to evaluate life-saving
therapeutics

Vision | A world free from treatable disease

Mission | Accelerate access to global clinical trials for life saving drugs


        2022 David Sackett Trial of the Year Award
        COVID-19 TOGETHER trial



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We help sponsors innovate while advancing global health


               Value for sponsors                                                    Global health impact


Access to diverse patient populations                                                 Advancing clinical research in multiple
with unique disease burdens                                                                                     geographies
Faster site selection, improved patient
                                                                                      Increasing global socio-economic and
enrollment & retention through pre-
                                                                                     geographic diversity in clinical research
qualified sites and local partner model

Build capacity to enable investigation of                                                Improving access to novel therapies
novel modalities in emerging markets                                                                  for emerging markets

Streamlined commercialization                                                          Building health systems infrastructure
avenues in emerging markets                                                                  to enable life-saving capabilities

                                                                                                                             1
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                                           Traditional trial structures are plagued by slow enrollment,
                                           poor retention and long / costly timelines


Innovative                                 Limited depth, breadth, and quality of RWD1, including lack
                                           of diversity data and access to source data (FDA requirement)
approaches
are needed to                              Existing RWD sources are fragmented, incomplete and not
address long-                              standardized

standing
challenges                                 CRO-sponsor interface strained by transactional
                                           relationships among major players


                                           Budget constraints due to macroeconomic climate
                                           compound challenges that clinical development teams face


                1. RWD = Real world data                                                                  2
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Addressing challenges can unlock significant value

Challenges have inhibited clinical development efficiency…
         of drug candidates aren't approved due to lack of procedural efficiency,
90%      participant diversity & targeted patient populations1

31% drop in clinical trial productivity 2



20% increase in clinical trial duration 3




… while an increase in activity has magnified their impact

68% increase in active developed drugs      4



14% increase in number of Phase II/III trials   5



28% increase in molecular entity approvals including an RWE study              6


                                                                                                  3
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 Reimagining clinical trials with our unique set of capabilities



Direct access to experts                                                                                  Leading statistical
    & unburdened sites                                                                                    methodologists
           Leverage our long, durable                                                                     Novel Bayesian statistics and
    relationships with investigators in                                                                   modeling that reduce time to
     20+ countries across LMICs and                                                                       insight
          North America with diverse,
        untapped patient populations


                     Innovative                                                                           RWD discovery
                    trial design                                                                          platform
   Award-winning pioneers in design                                                                       Access to evidence gap data
   and execution of adaptive designs                                                                      for RWD assets, and ability to
     that significantly accelerate trial                                                                  clean and harmonize for
                         development                                                                      internal analysis to inform
                                                                                                          critical strategic trial protocols

                                                                                                                                               4
                         Case 23-50444-JTD   Doc 47-1   Filed 10/11/23   Page 7 of 44                      Experts and site access



PLS is building capacity and increasing access to clinical trial sites worldwide

                                                                                        Perpetual access to 4M+
                                                                                        community-based trial participants


                                                                                        Treatment-naïve patients that
                                                                                        represent disease populations


                                                                                        Diverse populations to support
                                                                                        regulatory submission requirements


                                                                                        Enrollment and retention driven by
                                                                                        Community-of-Practice model


                                                                                        Deep knowledge of
                                                                                        regulatory environments


                                                                                        Early access to rapidly
                                                                                        emerging growth markets

                                                                                                                         5
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We deliver
innovation
amplified by
global
partnership and
collaboration


                                                                                                                                                   Africa
                                 Node size: # of articles
                                 Tag: # of articles                                                                                                Asia-Pacific
                  Organization
                                 Edge Width: # of co-authorships                                                                                   Europe
                                 Color: Region                                                                                                     North America
                                                                                                                                                   South America
                  Based on ~950 scientific literature articles published by 10 authors from PLS leadership and its collaborators since 2012                  6
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We have the expertise to address your clinical development plans


Expertise                                                      Disease-specific knowledge


            Publications across TAs
 2000+      and advanced trial
            design

                                                                             MODULAR –
                                                                      Please ask for our DISEASE
 200k+      Citations by scholarly
            publications                                             TEAR SHEETS AS RELEVANT
                                                                        PER AREA OF FOCUS
                                                                                (see page 37 and 38 as examples)
            Adaptive /
  450+      conventional / platform
            clinical trials run


                                                                                                                                 7
                                    Case 23-50444-JTD   Doc 47-1   Filed 10/11/23   Page 10 of 44                                   Innovative trial design



Trial design is at the heart of innovating clinical development

                                                                                                                             Platform trial

                                                                                Interim analysis          Interim analysis          Final Analysis
Master protocols refer to a single,                            Standard-of-care
overarching design developed to evaluate
multiple hypotheses to improve trial
efficiency
                                                               Intervention 1              Arm
                                                                                         dropped

Usually classified into 3 categories:
Basket trials, Umbrella trials, and                            Intervention 2
Platform trials


                                                                       New arm           Intervention 3
Platform trials use a common control to                               introduced
reduce the number of patients
assigned to placebo or standard-of-care
                                                                                                                   Intervention 4
                                                                                            New arm
                                                   Flexibility to add new arms:            introduced

                                                                                                                                                     8
                             Case 23-50444-JTD   Doc 47-1   Filed 10/11/23   Page 11 of 44                     Innovative trial design



We know how to put innovative trial design methods into practice



Industry leaders                                                     Risks of not adopting

                                                                                   Increased R&D spend and lost
                   Our leaders wrote the book
                                                                                   revenue due to extended trial
                   on innovative clinical trial
                                                                                   execution time
                   design…
                                                                                   Being beaten to market by
                                                                                   competitors due to elongated trials
                   …and have published over
                   25 influential trial design                                     Not failing fast, and burning time
                   papers in top-tier scientific                                   and resources in the process
                   journals, including The
                   Lancet, JAMA, and NEJM
                                                                                   Not being an innovative force within
                                                                                   your company

                                                                                                                             9
                                                Case 23-50444-JTD   Doc 47-1   Filed 10/11/23   Page 12 of 44               Statistical methodologists



Our leading statistical methodologists reduce time to insight
                Example
Response rate




                                 Tumour Type
                  Hierarchical Bayesian adaptive basket trial to
                  identify histology-agnostic, biomarker-based                 Leverage RWE to mitigate risks for clinical development
                                     therapies
                                                                                                                                            10
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We can meet you at your point of need with RWD/E back services

                                                                                                                          Examples


        Portfolio Strategy                    Trial design & execution                             Post-Approval/Commercial

 Hypotheses generation & biomarker                                                            Safety monitoring & post-approval
                                               Protocol and study design
           identification                                                                            pharmacovigilance



     Identify new unmet needs           Patient recruitment & site identification                 HEOR / treatment value validation



                                       Non-registry synthetic controls & virtual              Label extension & treatment regime
   Understand burden of disease
                                                        trials                                           optimization



                                                                                                       Patient / HCP targeting


                                                                                                                                       11
                             Case 23-50444-JTD   Doc 47-1   Filed 10/11/23   Page 14 of 44              RWD discovery platform



We accelerate delivery by quickly leveraging and combining critical datasets



                                                                                     Internal Data
       Internal (Existing)                             Standardize existing trial and RW data to supplement
       Trial and RW Data                               prospective data and enable identification of unmet needs &
                                                       populations


                        Prospective                                            Prospective RW Data
                      Fit-For-Purpose
                                                       Source data/documents for regulatory standards, if needed,
                          RW Data                      for health learning systems
      External
   Aggregate Data
                                                                                     External Data
                                                       Combine aggregate-level published data from competitors
                                                       and other external RW datasets


                                                                                                                     12
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Working hand-in-hand with you at any point in your clinical trial journey
Redefining clinical trials with speed, adaptability, and global partnerships to evaluate life-saving therapeutics



                                                                                                            EXAMPLES
                                       Fit-for-purpose and
  Prioritizing molecule               efficient trial designs
                                       and protocols that                        Global
 development based on


   Thank you
  RWD/RWE backed                        maximize assets                           trial
         analysis                                                               execution
                                                                                                               Post-
                                                                                                              approval
                                           Innovative
                                             study                      Quickly selecting sites
                                             design                     where the patients are;
         Portfolio                                                        Executing efficient             Leveraging RWD to
         strategy                                                       designs and analyses              close evidence gaps
                                                                               at speed                  (e.g., label expansion,
                                                                                                             efficacy-safety
  Learnings from each step feed into the rest; having a consistent
                                                                                                              optimization,
   partner across your journey can capitalize on these synergies                                          pharmacovigilance)
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We will be a true partner throughout clinical development

    We immerse ourselves in your vision – your goals become our goals



    A collaborative working style is in our DNA – we will work shoulder-to-
    shoulder with you to accomplish launch plans and publications


    We are transformative partners – delivering innovative value to
    tackle your problems today and tomorrow


                                                                                 14
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    PLS's trial design and global site network produce significant time & cost savings
    throughout clinical trial execution


Traditional    Trial     Trial
                                                            Trial execution                                Close-out
   RCTs       Design   initiation

                              1     Complex trial design shortens trial execution length
                                     • Reduced patient sample size requirements
                                     • Multiple treatment arms run simultaneously
                                     • Early treatment arm completion / termination
                                                                                                                        40-50%
                                                                                                                       faster time to
               Trial     Trial
              Design   initiation
                                                Trial execution                Close-out                                 approval
                              2     Access to global network of sites increases
                                    trial execution efficiency
                                     • Improved patient recruitment speed                                                 50%
                                     • Lower LMIC operations costs
                                     • Ready to activate sites                                                         lower cost to
               Trial     Trial
                                          Trial execution          Close-out
                                                                                                                        completion
              Design   initiation


                                                                                                                                        15
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Trial design and site network deliver estimated per patient costs significantly
below industry averages
Industry vs. Estimated Platform Life Sciences Per Patient Cost Averages
Infectious diseases trials – per patient cost



                                                       $42,001
 PHASE I
                             Industry Average                                           $66,105
                                                                                                       36%
                                                                                                       Lower Cost


                                  $26,014
 PHASE II
                 Industry Average                          $45,533                42%
                                                                                      Lower Cost

                   $11,077
PHASE III
            Industry Average      $26,020
                                                           58%
                                                           Lower Cost


                                                                                                                    16
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In addition to cost and time savings, PLS can increase revenue capture of your
product portfolio through trial timeline compression

                                         Platform Life Sciences- Timeliness To Market
                                        % of peak revenues
• Compression of clinical trial         per quarter
                                                                         Net Gain with Time To Market Acceleration
  timelines creates a revenue           100%
  boost for the product across                                                                        Volume
  lifetime, primarily attributed to      80%
                                                       74.9%                                          maturity
                                                                                                                                            Lost market
                                                                                       Volume                                             share due to late
  early product launch                             revenue boost                       adoption
                                                                                                                           PL
                                                                                                                             S              introduction
                                                                                                                     ith                    (~6months)
                                         60%                                                                     W

• Additional value realized                          Product          Market ramp
                                         40%
  when in-house resources                          introduction
                                                                                                           ry
                                                                                                       ust
  freed up to work on additional                                                                    Ind

  company priorities                     20%


                                          0%
                                                   Year 1             Year 2          Year 3           Year 4                    Year 5

                                                                                                                                                              17
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RWD Discovery Platform


                                                                         18
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                Our Real-World Discovery Platform
                Envisioned as a perpetual learning system that can
                maximize the value of real-world data regarding
                therapeutic efficacy

                With advancements and increased use of real-world
                data by global regulatory agencies, now is the time to
                re-cast the dogmas of clinical trials and real-world
                evidence into one



                                                                         19
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Real-World Discovery Platform for Model-Informed Development:
Conceptual Framework

      Establishment of         System Engineering with            Prospective Real-World     Retrospective
      Real-World               Harmonize Data                     Data Collection            Real-World Data
      Discovery Platform       Standards for Analysis                                        Augmentation
      Data Infrastructure      Ready Datasets


                               Model-Informed Drug                Prospective Real-World     External and Internal
      Advanced Real-
                               Development                        Data Statistical           Benchmarking
      World Analyses                                              Simulations for Clinical
      and Simulations                                             Trials Collection


                               Exploratory +                      Improved Clinical          Improved
      Application of Real-     Confirmatory Knowledge             Development:               Reimbursement:
      World Discovery          Generation: Biomarkers,            Make Go/No-Go              Supportive Comparative
      Evidence                 Endpoints, and                     Decision within a          Effectiveness Dossier
                               Patient Selection                  Therapeutic Area
                                                                                                                      20
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Real-World Discovery Platform data infrastructure established with
the highest system engineering standards


                                           Global clinical data from partner sites


                                           Regulatory grade prospective data collection with rigorous
                                           standards and quality checks

                                           Data tabulation and analysis mapping for clinical trials and HTA
                                           submissions

                                           Integration of retrospective real-world data: Publications, chart
                                           reviews, and internal IPD studies
  Harmonization of bespoke
       prospective and                     Fit-for-purpose RW evidence: Biomarkers, patients, outcome data
retrospective real-world data
 for analysis-ready datasets
                                                                                                               21
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We have access to real-time, regulatory grade, clinical data, by leveraging
regulatory changes in US HIPAA and HIE infrastructure

Real-time, Regulatory Grade, Clinical data (RRC)
                                                                                             CDS
                                         DCT
RWD                                                                                                     CLINICAL
                                                                                                              TextDATA
                                                 REGULATORY
                                                      Text GRADE                                   • Retrospective to time of
       REAL TIME
             Text                                                                                    diagnosis, prospective until
                                            • Full records include pathology,                        final outcome
                                              radiology (including raw                             • Actionable via AI/ML tools
  • Patient identity verification
                                              DICOMs) to allow for all types
    and geolocation from
                                              of outcomes assessment (e.g.,
    consumer data
                                              RECIST, PFS, OS)
  • Full patient medical records
                                            • Structured in 21 CFR 11
    from consented patients
                                              compliant EDC
    accessed within minutes via
                                            • Source data verified
    health information exchanges
  • Perpetual longitudinal follow up
                                                                                                                                    22
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Actionable Alerts: Recognizer Technology

   Real-time                            Patients &
  clinical data                         Providers
                                                                                Patients/Providers
                                                                                 • Treatment options to consider
                                                                                 • Supporting clinical evidence
                  Recognizers                                                    • Educational content on specific treatments
                                          Alerts

  Normalized                      Pharma Commercial,                                   Aligned Alerts: xCures alerts
 data catalogue                     Medical Affairs,                                   patient, provider, and pharma
                                       and R&D                                         simultaneously
                                                                                Pharma Commercial/MedAffairs
                                                                                 • Which patients might need our drug next
                                                                                   month?
                                                                                 • Which patients responded to our drug in
 Right patient, Right drug,                                                        the last month?
                                                                                 • Which patients stopped taking our drug in
                                                                                   the last month and why?
        Right time                                                               • Know when a patient is progressing or
                                                                                   about to progress(Time to treatment
                                                                                   failure model)
                                                                                                                               23
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We can create patient cohorts tailored to your specifications




 Traditional
                                                                          Stats team queries                                           Explore other avenues to
RWD workflow     Idea /
                                   Send data request to                 licensed RWD asset               Stats team can’t               build cohort, e.g., RWD
                  need                                                  (e.g., Optum, IQVIA,                                           charter companies, find /
                                       stats team                                                         fill cohort need
               identified                                                         etc)                                                     develop registries




                                                                                     2 months




                            Advanced analytics to build patient
                                                                                                            Fit-to-Purpose data
                 Idea /         cohorts from repository of              Fit-for-purpose patient
                  need         longitudinal patient records              cohort delivered with                       to create a patient cohort
               identified     that meet your specifications              research grade data                           to your specifications
                                   Powered by xCures



                                             Deep dive to follow


                                                                                                                                                                   24
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Efficient patient-centric workflow for decentralized recruitment

                           Perpetual data
Patient consents to       access via Health                                                                Searchable          Fit for purpose
 xCures or xCures             Information                                                               structured data &       dataset built
      partner               Exchanges &           Data processed via           Automated data               Meta-data               to spec
(via BAA or DUTA)         directly from sites           AI/ML                    structuring                catalogue        (Regulatory-grade)




         1                             2                   3                          4                         5                     6


                All medical records
                                                                                          Care Summaries
              from all sites of care

                                                                                                                              DCTs, EAPs, trial
                                            Portals for patients & providers                                                  matching, EHR to
                                             • Direct communication                                                         EDC, long-term follow-
                                             • PROs                                                                           up, RWD studies
                                             • Clinical Decision Support
                                               (Treatment Options
                                               Recommendations)
                                             • Actionable Alerts
                                                                                                                                              25
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Example | Application of Real-World Discovery Platform for Go / No-Go decisions


  Go/No Go Criteria for Clinical Development
                                                                        Internal study 1
                                                                                     +
               Go Decision Criteria
                                                                                   Prospective RW Data Collection
    • High probability of superiority against                                                      +
      external competitors                                                             External study
    • Well characterized xxx
                           dose response curve
      and tolerability with low toxicity profile
    • Within feasible budgetary and                                                                           Portfolio Management
      practical constraints                                                                                Step 1: Standardize all available
                                                                                  Internal
                                                                                                           sources of evidence
                                                                                                           Step 2: Synthesize using advanced
             No-Go Decision Criteria
                                                                                 (Existing)
                                                                               Trial and RW
                                                                                                                             xxx
                                                                                                           statistical methods for risk mitigation
                                                                                    Data
                                                                                                           during planning
                                                                                            Prospective
    • Low probability of success compared to                                             Fit-For-Purpose   Step 3: Compare against go/no-go
                                                                                             RW Data       criteria and inform the investment of
      external competitors
                        xxx (benchmark)                                      External
                                                                          Aggregate Data                   future study
    • Poor tolerability
    • High cost and slow recruitment
                                                                                                                      Future study

                                                                                                                                                26
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Example | Application of Real-World Discovery Evidence for HTA Submissions


Improved indirect treatment comparison with higher
precision catalyzed by high-quality data
 • Application area: Advanced survival analyses for
   oncology HTA submissions
                                                                                                                           Figure A. Network Meta-Interpolation (NMI) to Handle
                                                                                                                           Missing Sub-Group Published Data
                                                                                                                                                                                                                          Survival extrapolation methods for NMAs            Research Article



Incorporate several novel IPD analyses, such as                                                                                  Are individual patient data or
                                                                                                                                      Kaplan Meier (KM)
                                                                                                                                    sufficiently available?
                                                                                                                                                                       No    Are hazard ratios (HRs)
                                                                                                                                                                             available for all studies?
                                                                                                                                                                                                            No     Possible to generate HRs
                                                                                                                                                                                                                    form KM curves for all
                                                                                                                                                                                                                      non-available HRs?
                                                                                                                                                                                                                                               No
                                                                                                                                                                                                                                                                  Bias acceptable?




‘Network Meta-Interpolation (NMI)’ methods to handle                                                                                        Yes                                      Yes                  Yes                                           Yes




missing sub-group published data from external
                                                                                                                                                                                                                                                                            No
                                                                                                                                                                               Proportional hazard                Yes
                                                                                                                                   Is cure clinically realistic                                                              HR NMA
                                                                                                                                                                            assumption holds based on
                                                                                                                                  and/or can be estimated?
                                                                                                                                                                              available information?
                                                                                                                                                                                                                                  Yes




competitors                                                                                                                               Yes                     No                                              No                            No                Limit evaluation
                                                                                                                                                                                                                         Bias acceptable?                           to justifiable
                                                                                                                                                                                                                                                                   comparison?




                                                                                                                                                                                                                                                              Due to extreme change in
                                                                                                                                                                                                          No                                   No               hazards, due to frailty,
                                                                                                                                  Instantaneous cure, due to                 Do standard parametric                      Due to subgroup of
                                                                                                                                                                                                                                                               changing mechanism of
                                                                                                                                         e.g. surgery?                        distributions fit well?                   long-term survivors?
                                                                                                                                                                                                                                                                action and or delayed
                                                                                                                                                                                                                                                                  treatment effect?
                                                                                                                                      Yes             No                                   Yes                                    Yes                                      Yes




                                                                                                                                                       Non                                                                                                           Fractional
                                                                                                                                   Mixture                                          Parametric                                Mixture                Piecewise                             Spline
                                                                                                                                                     mixture                                                                                                         polynomial
                                                                                                                                  cure NMA                                            NMA                                      NMA                     NMA                                 NMA
                                                                                                                                                    cure NMA                                                                                                            NMA


                                                                                                                                Figure 3. Flow diagram for selection time-to-event network meta-analysis approach.
                                                                                                                           Figure B. Procedures to Select Survival Analysis for
                                                                                                                                HR: Hazard ratio; KM: Kaplan Meir; NMA: Network meta-analysis.


                                                                                                                           Indirect      Comparative
                                                                                                                               Figure 3 shows                            Effectiveness
                                                                                                                                              a potential decision flow diagram for TTE comparative effectiveness survival extrapolations
                                                                                                                                approaches informing cost–effectiveness models. For the present evidence network, pseudo individual patient-level
                                                                                                                                data could be derived from published KM curves for all studies. For Checkmate, the Weibull mixture cure resulted
                                                                                                                                in estimated cure rates of 0.02 (0.00– 0.06) for docetaxel and 0.18 (0.11–0.25) for nivolumab. Whether cure is
                                                                                                                                truly clinical plausible for a subset of patients in advanced non-small-cell lung cancer PD-L1 >1% or whether
                                                                                                                                there is a subset of patients that could be considered long-term survivors, but not cured, is an important clinical
Source: Harari O et al. Network meta-interpolation: Effect modification adjustment in network meta-analysis using subgroup analyses. Research Synthesis Methods. 2022 Oct 25.
                                                                                                                                question. If clinicians or other medical experts expect that part of the population will be instantaneously cured,                                              27
                                                                                                                                the mixture cure model is preferred. If clinicians or other medical experts believe there is no population that is
                                                                                                                                instantaneously cured, but once people have survived a number of years, the disease-related event probability is
                                                                                                                                negligible, a nMCM is preferred. If clinicians indicate that there is just a difference in latent groups of short- and
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Example | Model-informed development based on high-quality evidence
generated from our real-world discovery platform




              Dose Selection &                                            Informing Clinical
                Optimization                                                 Trial Design

             • Model-based meta-                               • Complex innovative trial designs
               analysis                                        • Master protocols:
             • Dose finding and                                    – Umbrella/platform/basket trials
               response designs for
               dose optimization                               • Adaptive trial designs
                                                               • External control designs
                                                               • Hybrid control designs

                                                                                                       28
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                             Augmented analyses


                             Ambispective approach


                            Purpose built data sets


Echelons of evidence         Prospective data sets



                            Retrospective data sets



                             RWD sets (Med Records)


                                                                                       29
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Appendix –
Disease specific templates

                                                                          30
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Malaria | Patient access & deep expertise to meet your needs


Patient access                                                                                               Expertise
Malaria prevalence in PLS partner site countries
                                                                                                                                                       Publications on malaria
                                                                        95,526k
                                                                                                               50+                                     in top journals, e.g., The
 PLS can engage clinical sites                                                                                                                         Lancet
  beyond immediate footprint



                                                                                                                                                       Citations of our malaria
                                                                                                              30k+                                     work by scholarly
                                                                                                                                                       publications
                            7,312k
          0                                        151k


                                                                                                               20+
        EU1                 APAC2            South America3          Middle East                                                                       PLS clinical trials sites
                                                                      & Africa4
                                                                                                                                                       for malaria
           Access to US sites enabled by partnership with CVS

1. Includes Spain, Poland, Hungary, Bulgaria, Romania 2. Includes Pakistan, India, Vietnam, Australia 3. Includes Brazil 4. Includes Rwanda, South Africa, DRC,
Uganda, Kenya, Nigeria, Ivory Coast, Ghana, Senegal, Israel
Source: IHME, The Lens                                                                                                                                                              31
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HIV | Patient access & deep expertise to meet your needs


Patient access                                                                                               Expertise
HIV prevalence in PLS partner site countries
                                                                                                                                                       Publications on HIV in
                                                                        14,304k
                                                                                                             350+                                      top journals, e.g., The
 PLS can engage clinical sites                                                                                                                         Lancet, JAMA
  beyond immediate footprint



                                                                                                                                                       Citations of our malaria
                                                                                                              50k+                                     work by scholarly
                                                                                                                                                       publications
                            2,166k
                                                   891k
        137k

        EU1                 APAC2            South America3          Middle East
                                                                      & Africa4                                30+                                     Clinical trials run for
                                                                                                                                                       HIV
           Access to US sites enabled by partnership with CVS

1. Includes Spain, Poland, Hungary, Bulgaria, Romania 2. Includes Pakistan, India, Vietnam, Australia 3. Includes Brazil 4. Includes Rwanda, South Africa, DRC,
Uganda, Kenya, Nigeria, Ivory Coast, Ghana, Senegal, Israel
Source: IHME, The Lens                                                                                                                                                            32
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Appendix –
Expert team and networks

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 Leadership team




      DR. MARK DYBUL                            DR. ED MILLS                        MELISSA BOMBEN                          TWANNA L DAVIS                       MICHAEL ZIMMERMAN

    Executive Chairperson              Chief Executive/Scientific Officer         Chief Operating Officer               Chief Clinical Operations               Chief Technology Officer
Professor, Department of Medicine,       Professor at McMaster University,     30 years experience in corporate        Past global clinical operations in       Past CEO of ML/Data analytics
      Georgetown University              past founder of scientific centered   management, strategic resourcing       leading CROs, and staff academic        companies, experienced in building
  Senior Advisor at the Center for         adaptive clinical trials service          and clients solution                 member in health sciences             large scale global infrastructure
Global Health Practice and Impact                   companies




        BOB BATTISTA                          ARANKA ANEMA                       DR. GHAYATH JANOUDI                     MICHAEL E. LAMBERT

      Chief Strategy and                        VP Global Health                       VP Regulatory                   VP Business Development
      Commercial Officer
  Serial healthcare entrepreneur.        Adjunct Prof University of British       Comprehensive experience in           Extensive experience in building
Launched first specialty pharmacy in    Columbia., 20 years leading impact      conducting and evaluating clinical     large scale clinical trials business
     the U.S. commercialized                  evaluations for global           research for regulatory purposes in    and customer base. Recently CBO
          IHME to industry                     health investments               North and Latin America, Europe,               with FHI Clinical                                              34
                                                                                   Africa, and The Middle East
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Scientific Leadership




  Professor Edward Mills      Professor Kristian Thorlund                      Professor Mark Dybul                Professor Gordon Guyatt
   McMaster University           McMaster University                           Georgetown University                 McMaster University

     Senior Scientist,       3rd Most cited statistician in the            Led the largest life-saving RWE        Developed the concept of
    Stanford University                   world                            project in history, resulting in 70    Evidence-Based Medicine
                                                                                 million lives saved.
     Senior Scientist,                                                                                           11th most cited scientist in the
 Global Burden of Disease                                                                                                     world

 Over 850 top tier Journal
         Articles



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From grassroots to treetops


Community-of-Practice: PLS has built a Community-of-Practice
that connects villages to providers at sub-national, national and
cross-national Ministry of Health officials at technical,
policymaking ministerial and state/national cabinets. It enables
 • Authentic country ownership and engagement
 • Surge capacity with local footprint
 • Continuous quality improvement
 • Access to national databases through trusted relationships

National and Global Network of Impact Organizations: PLS has
deep relationships with Civil Society/Community-based
organizations engaged in delivery and/or advocacy
organizations, including government at all levels nationally and
sub-nationally up to Heads-of-State, Pan-African and global
health agencies.

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The African Forum for Research and Education in Health (AFREhealth) is an
interdisciplinary health professional grouping that seeks to work with Ministries of Health,
training institutions and other stakeholders to improve the quality of health care in Africa
through research, education and capacity building. It is a conglomerate of individuals,
institutions, associations and networks from all the geographic and linguistic regions of
Africa namely Anglophone, Francophone, Lusophone and Arabophone.


Membership is open to African and external stakeholders committed to an Africa with
strong, self-sustaining and robust health systems. It was launched by the joint leadership of
MEPI (Medical Education Partnership Initiative) and NEPI (Nursing Education Partnership
Initiative) in 2016.



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Spotlight
                                                      2 Partners with 1 Site each
RWANDA                              Partner           Population/Patient Access 4m+
                                    sites             Rwanda Ethics Committee and RFDA Approved Sites
                                                      Laboratories CAP Certified and ISO Certified



                                                      Sites 7+ years of Clinical Trial Experience
                                    Clinical          12+ Completed and Ongoing Clinical Trials
                                    trial             216 624 Patients Recruited
                                    history           Recruitment from 2 Provincial and 12 District Hospitals
                                                      Academia Capacity Building Program


                                    Dr. Leon          +20 years of Clinical Trial Experience,
                                    Mutesa            18+ Completed and Ongoing Trial Experience
                                    and Dr.           Dr. Mutesa: Founder—Rwanda Health
                                    Etienne           Research Committee
                                    Karita            Current Trial: GLB 003 Vaccine


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Spotlight
                                                      2 Partner with 35+ Recruitment Centers
DRC                                 Partner           Population/Patient Access 55M+
                                    sites             D-ACOREP Approved Sites
                                                      Laboratories CAP Certified and ISO Certified



                                                      Sites 5+ years of Clinical Trial Experience
                                    Clinical          4 Completed and Ongoing Clinical Trials
                                    trial             1200+ Patients Recruited
                                    history           Emerging and Re-Emerging Pathogens,
                                                      Infectious, Expertise


                                                      Co-Discoverer of the Ebola Virus
                                                      Founder and Director National Institute
                                    Dr. Jean          of Biomedical Research
                                    Jacques           25+ years of Clinical Trial Experience,
                                    Muyembe
                                                      Times 100 Most Influential People 2020
                                                      2019 David Sackett Award

                                                                                                                39
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Spotlight                                                1 Partner with 2 Sites
SOUTH AFRICA                           Partner
                                                         Population/Patient Access 16m+
                                                         SA Health Products Regulatory Authority (SAHPRA)
                                       sites
                                                         Approved Sites
                                                         Laboratories CAP Certified and ISO Certified



                                                         Sites 10+ years of Clinical Trial Experience
                                       Clinical          30+ Completed and Ongoing Clinical Trials
                                       trial
                                                         8 950 Patients Recruited
                                       history
                                                         HIV and Obesity Areas of Expertise




                                                         20 years of Clinical Trial Experience,
                                       Dr.               40+ Completed and Ongoing Trial Experience
                                       Francois
                                                         International Association of Providers of AIDS Care
                                       Venter
                                                         Top Influential Leaders - RSA Institute of Health Care


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Spotlight
                                                      1 Partner with 22 Sites
BRAZIL                              Partner           Population/Patient Access 8m+
                                    sites             Platform Brazil and CONEP Approved Sites
                                                      Laboratories CAP Certified and ISO Certified




                                                      Sites 10+ years of Clinical Trial Experience
                                    Clinical          22 Completed and Ongoing Clinical Trials
                                    trial
                                                      8 000 Patients Recruited
                                    history
                                                      Cardio-Vascular and Covid Area of Expertise




                                                      20 years of Clinical Trial Experience,
                                    Dr. Gilmar        Involved in 100 Completed and Ongoing Trials
                                    Reis
                                                      Award Winning Covid-19 Together Trial



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Spotlight                                             1 Partner with 12 Sites, 4 Integrating onto the Network
PAKISTAN                            Partner
                                                      Population/Patient Access 200m+
                                                      Drug Regulatory Authority Pakistan (DRAP)
                                    sites
                                                      Approved Sites
                                                      Laboratories CAP Certified and ISO Certified



                                                      Sites with 15+ years of Clinical Trial Experience
                                    Clinical          180 Completed and Ongoing Clinical Trials
                                    trial
                                                      432 712 Patients Recruited
                                    history
                                                      Phase1 5%, Phase2 10%, Phase3 55%, Phase4 30%




                                                      40 years of Clinical Trial Experience,
                                    Dr.               50+ Completed and Ongoing Trial Experience
                                    Zulfiqar A
                                                      Grants Funding $12.500.000+
                                    Bhutta
                                                      Ranked Top 100 Global Medical Scientists 2022


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